Case 2:20-cv-02586-GW-E Document 142 Filed 03/02/22 Page 1of1 Page ID #:819

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL MINUTES—GENERAL
Case No. CV 20-2586-GW-Ex Date March 2, 2022
Title Arconic, Inc., et al. v. Cal-Tron Plating, Inc., et al. Page 1of1

 

 

Present: The Honorable GEORGE H. WU, UNITED STATES DISTRICT JUDGE

 

 

 

Javier Gonzalez None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiff(s) Attorneys Present for Defendant(s)
None Present None Present

Proceedings: INCHAMBERS — COURT’S TENTATIVE RESPONSE TO PARTIES’
JOINT STATUS REPORT (ECF NO. 139)

The parties have filed a joint status report outlining their agreement as to initial disclosures,
the total response cost presentation, the terms of fact discovery, the three-month stay of litigation
to discuss settlement beginning on January 1, 2023, and the scheduling of pre-trial deadlines
relative to a trial date. See Joint Status Report at 1-4, ECF No. 139. The only point of disagreement
was whether a trial date needs to be set now. Plaintiffs aver that no trial date is necessary until at
least after the January 2023 stay to conduct settlement discussion. Jd. at 4-5. Defendants request
the Court set a trial date in January 2025 in order to push the matter towards resolution. Jd.

The Court elects to set a trial date for January 11, 2025. The earliest envisioned pre-trial
deadline (for the fact discovery cutoff) falls 62 weeks before trial. /d. at 2. If the Court sets a trial
date for January 11, 2025, the fact discovery cutoff would fall in October 2023, leaving the parties
sufficient time to change the trial date as needed after the January 2023 stay if, as Plaintiff suggests,
new parties are added or state regulatory actions cause delays. The Court is willing to revisit the
trial date after the three-month stay of litigation or when the parties feel necessary, but the Court
agrees with Defendants that setting a trial deadline, even if not etched in stone, tends to set a

timeline that the parties can work to achieve and helps push a matter towards resolution.

 

CV-90 CIVIL MINUTES—GENERAL Initials of Deputy Clerk JG
